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                         IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA




 IN RE: GENERIC PHARMACEUTICALS                       MDL No. 2724
 PRICING ANTITRUST LITIGATION                         Case No. 2:16-MD-02724

                                                      Hon. Cynthia M. Rufe
 THIS DOCUMENT RELATES TO:

 ALL ACTIONS



                      NOTICE OF EX PARTE, IN CAMERA FILING


       Intervenor United States of America hereby provides notice of the ex parte, in camera

filing of the Declaration of Ryan Danks, which will be delivered to chambers today.



Dated: August 25, 2020



                                            Respectfully submitted,

                                            /s/ Catherine S. Montezuma
                                            Catherine S. Montezuma
                                            U.S. Department of Justice
                                            Antitrust Division
                                            450 Fifth Street Northwest
                                            Washington, DC 20530
                                            (202) 377-9624
                                            catherine.montezuma@usdoj.gov

                                            Counsel for Intervenor United States of America




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                                  CERTIFICATE OF SERVICE

       I hereby certify that on August 25, 2020, I caused a copy of the foregoing to be filed

electronically via the Court’s electronic filing system. Those attorneys who are registered with

the Court’s electronic filing system may access this filing through the Court’s system, and

notice of this filing will be sent to these parties by operation of the Court’s electronic filing

system.


                                               Respectfully submitted,

                                               /s/ Catherine S. Montezuma
                                               Catherine S. Montezuma
                                               U.S. Department of Justice
                                               Antitrust Division
                                               450 Fifth Street Northwest
                                               Washington, DC 20530
                                               (202) 377-9624
                                               catherine.montezuma@usdoj.gov

                                               Counsel for Intervenor United States of America




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